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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA


  MISS GLENN A. PORTER,                                 )
                                                        )
                 Plaintiff,                             )
                                                        )
  v.                                                    )       Case No. 18-CV-0472-JED-CDL
                                                        )
  SCOTT CROW, Director, Oklahoma                        )
  Department of Corrections, et al.,                    )
                                                        )
                 Defendants.                            )

                              ORDER DIRECTING SPECIAL REPORT

         This matter is before the Court on a motion (Doc. 95) filed by Defendants Ensey 1 and

  Gillespie (collectively, “Defendants”) on January 5, 2021. Defendants seek an order directing

  officials with CoreCivic, Inc., the corporation that owns and operates the Cimarron Correctional

  Facility (CCF), a private prison, to investigate Plaintiff Porter’s allegations against Defendants and

  to submit a special report, pursuant to Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978). 2

  Defendants further request that the Court stay discovery pending submission of the special report

  and extend their deadline for filing an answer or other responsive pleading until after submission

  of the special report. Porter did not file a response to the motion and the time to do so has passed.

  For the reasons that follow, the Court grants the motion.



         1
            In the First Amended Complaint (Doc. 49), Porter identifies Defendant Ensey as
  “Defendant Enzy.” In this order, the Court will refer to the defendant as “Defendant Ensey.”
  Counsel for Defendants Ensey and Gillespie shall provide full names for each defendant and
  correct the spelling of their names, if necessary, when filing an answer or other responsive
  pleading.
         2
           At the times relevant to Porter’s claims against Defendants, CoreCivic contracted with
  the Oklahoma Department of Corrections (ODOC) to house state prisoners at the CCF. Doc. 95,
  at 2. CoreCivic no longer houses state prisoners at the CCF for the ODOC. Id.
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                                                   I.

         Porter, a state inmate, commenced this action in September 2018, by filing a 42 U.S.C.

  § 1983 civil rights complaint (Doc. 1) alleging that multiple officials with the Oklahoma

  Department of Corrections (ODOC) violated her constitutional rights. 3 Because Porter initially

  appeared without counsel, the Court directed officials with the ODOC to prepare and submit a

  Martinez report. Doc. 7. Before ODOC officials filed the Martinez report (Doc. 25), Porter moved

  to amend her complaint to add new claims against new defendants, including Defendants Ensey

  and Gillespie, both of whom are employed by CoreCivic and work at the CCF. See Docs. 23, 32.

  She also filed a motion for appointment of counsel. Doc. 31. In an order (Doc. 46) filed May 17,

  2019, the Court granted Porter’s request for counsel. In an opinion and order (Doc. 47) filed that

  same day, the Court granted Porter’s motion to file an amended complaint and directed Porter’s

  counsel to file an amended complaint within 30 days of entering an appearance in the case.

  Counsel filed the First Amended Complaint (FAC) (Doc. 49), the operative complaint in this

  matter, on June 20, 2019.

         In an opinion and order (Doc. 71) filed February 10, 2020, the Court dismissed several

  claims and determined that Porter could proceed on only two claims asserted in the FAC: Count

  II, a deliberate-indifference claim asserted against Defendants Jones, Wagener, McCurdy, Morgan,

  Lehnus, A.J. Williams and Bowler, in their individual capacities, and against Defendants Crow,

  G. Williams and Whitten, in their official capacities; and Count VI, a deliberate-indifference claim

  asserted against Defendants Byrd, Ensey, Gillespie and Morris, in their individual capacities. The

  Court found, however, that the four defendants identified in Count VI, were subject to being



         3
           Porter is a transgender inmate who self-identifies as female. Doc. 1, at 2. The Court
  therefore uses female pronouns when referring to Porter.

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  dismissed from this action because Porter failed to effect timely service of the FAC as to those

  defendants. Doc. 71, at 31; Doc. 82, at 1, 3. On Porter’s motion, the Court extended the time for

  service, see Docs. 83, 84, 85, and Porter effected service of the FAC, as to all four defendants

  identified in Count VI, on December 14, 2020, see Docs. 89, 90, 91, 93.

          Defendants Ensey and Gillespie filed the instant motion (Doc. 95) on January 5, 2021. In

  support of their request for an order directing CoreCivic officials to prepare and submit a special

  report, Defendants assert that the previously-filed Martinez report did not address Porter’s

  allegations relating to civil rights violations that she claims occurred at the CCF and that, because

  the CCF no longer houses ODOC prisoners, “[o]btaining records now in archives” may be

  difficult. Doc. 95, at 2. Defendants request “authority to obtain and review all pertinent records

  including, but not limited to, financial, medical, and mental health records.” Id. They further

  request that the Court stay discovery and extend their time to file an answer or other responsive

  pleading to the FAC until after the special report has been filed. Id. at 2-3.

                                                     II.

          In Martinez, the United States Court of Appeals for the Tenth Circuit “approved a district

  court’s order that prison officials investigate the facts surrounding a civil rights suit by inmates to

  construct ‘an administrative record . . . to enable the trial court to decide . . . jurisdictional issues

  and make a determination [of frivolity] under [28 U.S.C.] section 1915(a).’” Sampley v. Ruettgers,

  704 F.2d 491, 493 n.3 (10th Cir. 1983) (alterations in original) (quoting Martinez, 570 F.2d at

  319). The Tenth Circuit subsequently explained that when a pro se plaintiff is a prisoner, a

  Martinez report “is not only proper, but may be necessary to develop a record sufficient to ascertain

  whether there are any factual or legal bases for the prisoner’s claims.” Hall v. Bellmon, 935 F.2d

  1106, 1109 (10th Cir. 1991). Hall suggested that a Martinez report may be useful not only at the



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  preliminary stages of pro se prisoner litigation, when a court is attempting to discern whether a

  complaint states any viable claims, but also at the motion to dismiss or summary judgment stage

  so long as the plaintiff has been provided an opportunity to controvert any facts set out in the

  report. Id. at 1108-13; see also Gee v. Pacheco, 627 F.3d 1178, 1186-87 (10th Cir. 2010)

  (discussing permissible use of Martinez report in context of Fed. R. Civ. P. 12(b)(6)).

         But the Tenth Circuit has made clear that a Martinez report “is meant only to identify and

  clarify bona fide disputes, not to resolve them.” Reed v. Dunham, 893 F.2d 285, 287 n.2 (10th Cir.

  1990); see also Swoboda v. Dubach, 992 F.2d 286, 290 (10th Cir.1993) (“In determining whether

  a plaintiff has stated a claim, the district court may not look to the Martinez report, or any other

  pleading outside the complaint itself, to refute facts specifically pled by a plaintiff, or to resolve

  factual disputes.”); Northington v. Jackson, 973 F.2d 1518, 1521 (10th Cir. 1992) (explaining that

  Martinez report “is designed to aid the court in fleshing out possible legal bases of relief from

  unartfully drawn pro se prisoner complaints, not to resolve material factual issues”); Hall, 935

  F.2d at 1109 (noting that court “cannot resolve material disputed factual issues by accepting the

  report’s factual findings when they are in conflict with pleadings or affidavits”). Whether to order

  a Martinez report is a discretionary decision that rests with the Court, and neither party is entitled

  to such a report to support their claims or defenses. Pemberton v. Patton, 639 F. App’x 532, 536

  (10th Cir. 2016) (unpublished). 4

         Here, Porter initially appeared pro se but she is now represented by counsel. And the Court

  has already determined that Porter’s allegations in the FAC support a plausible Eighth Amendment

  deliberate-indifference claim against Defendants Ensey and Gillespie. Nonetheless, the Court



         4
           The Court cites this unpublished decision as persuasive authority. See Fed. R. App. P.
  32.1(A); 10th Cir. R. 32.1(a).

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  agrees with Defendants that a Martinez report may be useful in developing an administrative

  record regarding that claim. See Gee, 627 F.3d at 1186; Hall, 935 F.2d at 1110-11. Because the

  Court finds that a special report prepared by CoreCivic officials responsible for the operation of

  the CCF may be helpful in this respect, the Court grants Defendants’ motion. The Court therefore

  stays discovery between Plaintiff Porter and Defendants Ensey and Gillespie and extends the

  deadline for Defendants Ensey and Gillespie to file an answer or other responsive pleading pending

  an investigation by CoreCivic officials responsible for the operation of the CCF and the

  preparation and submission of a Martinez report, as described herein.

         CoreCivic officials responsible for the operation of the CCF shall undertake a review of

  any administrative records kept by CoreCivic, including medical records, that are relevant to

  Porter’s claim, as asserted in Count VI of the FAC, that officials at the CCF failed to protect her

  from sexual harassment and rape while she was incarcerated at the CCF between July 2017 and

  January 2018. See Doc. 49, at 5-6, 13-14. CoreCivic officials shall prepare a written report that

  includes the results of its review and any rules or regulations pertinent to the subject matter of

  Porter’s Count VI claim. No later than 60 days from the entry of this order, CoreCivic officials

  shall file the written report, and any exhibits thereto, with this Court.

         No later than 21 days after CoreCivic officials file the special report, Defendants Ensey

  and Gillespie shall file an answer or other responsive pleading addressing the allegations in the

  FAC. If either defendant files a motion to dismiss or a motion for summary judgment after the

  special report has been submitted, Porter shall file a response to that motion no later than 21 days

  after the defendant files the motion.

         ACCORDINGLY, IT IS HEREBY ORDERED that:

     1. Defendants’ motion (Doc. 95) requesting a special report, a stay of discovery, and an



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        extension of time to respond to the First Amended Complaint is granted.

     2. CoreCivic officials responsible for the operation of the CCF shall undertake a review of

        any administrative records kept by CoreCivic, including medical records, that are relevant

        to Porter’s claim, as asserted in Count VI of the First Amended Complaint, that officials at

        the CCF failed to protect her from sexual harassment and rape while she was incarcerated

        at the CCF between July 2017 and January 2018.

     3. CoreCivic officials shall prepare a written report that includes the results of its review and

        any rules or regulations pertinent to the subject matter of Porter’s Count VI claim. No

        later than 60 days from the entry of this order, CoreCivic officials shall file the written

        report, and any exhibits thereto, with this Court.

     4. Discovery between Plaintiff Porter and Defendants Ensey and Gillespie is stayed pending

        the filing of the special report and shall resume upon filing of the special report.

     5. No later than 21 days after CoreCivic officials file the special report, Defendants Ensey

        and Gillespie shall answer or otherwise plead to the allegations in the First Amended

        Complaint.

     6. If either defendant files a motion to dismiss or a motion for summary judgment after the

        special report has been submitted, Porter shall file a response to that motion no later than

        21 days after the defendant files the motion.

        ORDERED this 4th day of February, 2021.




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